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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OLYMPIC AND PARALYMPIC
COMMITTEE,
                                                             Case No. 1:24-cv-08973
        Plaintiff,
                                                             Judge Jeremy C. Daniel
v.
                                                             Magistrate Judge Sheila M. Finnegan
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                  DEFENDANT
                 88                                   HH Clothing
                  8                                      IEatfor2
                151                                       Soini
                106                                     KuKuTIE
                158                                  Sticker Melody
                 22                                  TianMMM22X
                 11                                      Liuxam
                 73                                 Free Choice Bird
                 48                                 CharmingLadies
                  9                                  Joinshow store
                 95                                    HTWANG
                163                                Tender Is The Moon
                164                                Tender Is The Night
                  2                                   Fanny Harte
                 34                                 ZHANGRUNQI
                 81                                  Gift Something
                103                                        JSM
                 68                                  Fantastical Fun
                144                                  Relaxed Retreat
                130                              NEVER STOP JEWELRY
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          50                              Chic Avenue Outfit
         194                                 YUM SHOP
         185                                 Whats wrong
         112                                 Love Lemon
          37                                   BAIMAN
          21                                   SLHKPNS
          63                                      ELY
          60                                      DJN
          89                               HI Costume Party
          79                              GentsGarb Galore
         111                5         haerbinbohengyunshuyouxiangongsi
                                               Loudadaya
         159                           StylishPrints Tee Gallery
           5                     haerbinbohengyunshuyouxiangongsi
          47                           Charm womens clothing
          49                             Chenmeng Clothing
         165                            The Perfect Girls Diary
         134                             Open field menswear
          67                                     facaizu
          83                                   global man
          84                                     Goobig
         109                                  longdashiye
         131                                    Night TV
         133                                      Oasis
          82                                      GLO
         154                                  Startwinkle
         155                                    Starwarer
         156                                   Starworrier
         157                                    Stay time
         167                                 Thread Style
         108                                     Liweiya
         102                                     Jo club
          59                                 DYHLYC
          61                              DROSESINLOVE
         192                                   Your smart
         126                                      MUI
         193                               YOZO STUDIO
          74                           FRESH TEE DESIGNS
          93                                Hi Signal Steer
          92                                  Hi RealMan
          91                                Hi Dapper Gent
         145                                  RUDEBOY
         147                                   SHEMuses
         104                                     JSMM
         197                                   ZYF Style
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            115                              MAMA VIBES
             12                              LIXINGOOD
             39                            A12JU8CRHFY4U8
                                               Bed Time
             58                                 CY kids
            190                                 xilixili
            169                             TOP WOMENS
             23                               TRISEASY


DATED: October 31, 2024                     Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
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                                            Chicago, Illinois 60604
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                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-08973 Document #: 29 Filed: 10/31/24 Page 4 of 4 PageID #:2133




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 31, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
